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                                                                           Filed: July 24, 2023


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                            ________________________________

                             SUPPLEMENTAL BRIEFING ORDER
                             _________________________________

        No. 21-1043,           Planned Parenthood South Atlantic v. Robert Kerr
                               3:18-cv-02078-MGL

        The court directs supplemental briefing as follows:

        Supplemental opening brief due: 08/23/2023

        Supplemental response brief due: 09/22/2023

        Supplemental reply brief permitted by: 10/13/2023

        The briefs and any supplemental appendix must conform to the Fourth Circuit
        Brief & Appendix Requirements and the Appendix Pagination & Brief
        Citation Guide (available as links from this order and at www.ca4.uscourts.gov).

                                        /s/ PATRICIA S. CONNOR, CLERK
                                        By: Cathi Bennett, Deputy Clerk
